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              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA
EDWARD J. HENRY II,                     )
                                        )
                                        )
               Plaintiff,               )
                                        ) 2:21-cv-1164-NR
      v.                                )
                                        )
HYUNDAI CAPITAL AMERICA,                )
                                        )
                                        )
               Defendant.               )
                                        )
                                        )
                                        )
                            CASE MANAGEMENT ORDER
      Based on the parties’ submitted 26(f) report and ADR stipulation, the
Court orders as follows:
                               Discovery Schedule
      1.      Initial disclosures required by Rule 26(a) of the Federal Rules of
Civil Procedure will be made by May 24, 2022. This includes the production
of all documents referenced in each party’s disclosures.       The parties are
reminded to supplement their disclosures with due diligence.
      2.      Fact discovery shall be completed by November 3, 2022. The
discovery deadline shall be extended only by leave of court, and only upon
motion filed before the expiration of such deadline. The motion shall: (a)
specify discovery that has been completed to date; (b) state with specificity the
reasons for the requested extension; (c) list any previous extensions of
discovery; and (d) attach a proposed order that establishes the extended
pretrial schedule being requested. Any such motion shall contain a certificate
of conferral as required by Local Rule 16.1.B.3.
      3.      The parties shall be limited to 15 requests for production, 15
written interrogatories, and 15 requests for admission, including subparts,

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submitted by a party to another party. The parties shall only serve document
requests for information not otherwise covered by Rule 26(a) of the Federal
Rules of Civil Procedure. Such requests shall not be boilerplate requests, and
the parties’ responses shall not contain boilerplate general objections; any
objections must be stated with specificity as to a particular request or will
otherwise be deemed waived. Further, in response to interrogatories, if the
parties refer to documents produced, such references shall include specific
Bates numbers. Each party will be limited to 8 fact witness depositions. These
limitations do not apply to any third-party discovery that may be necessary.
The parties can expand the limits on discovery by mutual agreement or by
seeking leave of Court.
      4.      Pursuant to Local Civil Rule 16.1(D), and to aid in the
implementation of Fed. R. Evid. 502, the following is ordered in the event of an
inadvertent disclosure of any privileged or trial preparation/attorney work
product material:
              (a)   The producing party shall promptly notify all receiving
                    parties of the inadvertent product of any privileged or trial
                    preparation material. Any receiving party who has
                    reasonable cause to believe that it has received privileged or
                    trial preparation material shall promptly notify the
                    producing party.
              (b)   Upon receiving notice of inadvertent production, any
                    receiving party shall immediately retrieve all copies of the
                    inadvertently   disclosed   material and sequester       such
                    material pending a resolution of the producing party’s claim
                    either by the Court or by agreement of the parties.


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              (c)   If the parties cannot agree as to the claim of privilege, the
                    producing party shall move the Court for a resolution within
                    30 days of the notice set forth in subparagraph (a). Nothing
                    herein shall be construed to prevent a receiving party from
                    moving the Court for a resolution, but such motion must be
                    made within the 30-day period.
      5.      The parties shall meet and confer regarding all discovery disputes.
If a dispute is not resolved, then instead of filing a discovery motion, the parties
shall contact Chambers. The Court will then either set up a conference or order
the parties to e-mail a brief summary of the nature of the dispute, so that the
Court can attempt to resolve the dispute without the need for motions practice.
If a dispute remains unresolved at that point, the Court will issue a briefing
schedule to decide the discovery dispute. In connection with those briefs, each
interested party shall submit a carefully crafted proposed order along with its
brief, which should include in it the precise relief requested and the amount of
any attorneys’ fees and costs to be awarded. If appropriate, the Court will
decide the dispute by executing one of the party’s proposed orders.
                      Joint Motion for Protective Order
      8.      The parties shall file a joint motion for entry of protective order
on or before May 10, 2022.
                    Motions to Amend or Add New Parties
      9.      Any consented-to amended pleadings or joinder of parties shall be
filed no later than June 2, 2022. Lacking consent, any motion to amend
pleadings or join parties shall be filed no later than June 2, 2022.
                           Discovery Status Update
      10.     On or before October 3, 2022, the parties shall file a joint status
report, updating the Court on the status of discovery, identifying: (i) the
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discovery completed to date; (ii) the discovery that remains; and (iii) the
existence of any discovery disputes.
                    Post-Discovery Status Conference
      11.    Upon the completion of discovery, the Court shall hold a telephonic
post-discovery conference on November 7, 2022 at 2:00 p.m.              Dial-in
instructions will follow this Order. The parties should be prepared at that
conference to discuss the scheduling of any motions for summary judgment,
and trial.
      DATED this 2nd of May, 2022.
                                                  BY THE COURT:


                                                  /s/ J. Nicholas Ranjan
                                                  United States District Judge




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